Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF ALABAMA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Jackson Hospital & Clinic, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  1725 Pine Street
                                  Montgomery, AL 36106
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Montgomery                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.jackson.org/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Jackson Hospital & Clinic, Inc.                                                          Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above

                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               6221

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                               When                                 Case number
                                                District                               When                                 Case number




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Debtor    Jackson Hospital & Clinic, Inc.                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
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Debtor   Jackson Hospital & Clinic, Inc.                                              Case number (if known)
         Name

                              $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor    Jackson Hospital & Clinic, Inc.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 3, 2025
                                                  MM / DD / YYYY


                             X /s/ Allen Wilen                                                            Allen Wilen
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X /s/ Derek F. Meek                                                           Date February 3, 2025
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Derek F. Meek
                                 Printed name

                                 Burr & Forman LLP
                                 Firm name

                                 420 North 20th Street, Suite 3400
                                 Birmingham, AL 35203
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (205) 251-3000                Email address      dmeek@burr.com

                                 ASB-4255-C52D AL
                                 Bar number and State




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STATE OF ALABAMA                )

MONTGOMERY          COUNTY      )


                                   CERTIFIED COPY
                                          OF
                                    RESOLUTION OF
                                 BOARD OF DIRECTORS
                            JACKSON HOSPITAL & CLINIC, INC.


        The undersigned Secretary of Jackson Hospital & Clinic, Inc., an Alabama non-profit

corporation, hereby certifies that the Board of Directors of the aforesaid corporation approved

the attached resolution on February 2, 2025, and that the resolution has not been amended or

revoked and is in full force and effect.

        IN WITNESS WHEREOEF,           I have hereunto subscribed my signature and affixed the seal

of this Corporation, this 3rd day of February, 2025.

                                               JACKSON HOSPITAL & CLINIC, INC.




                                                By:    MEG
                                                       W. Ken Uptfiurch,    1    “UC —
                                                       Its Secretary

(SEAL)




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                                    RESOLUTION OF
                                BOARD OF DIRECTORS OF
                            JACKSON HOSPITAL & CLINIC, INC.
                                     February 2, 2025

        WHEREAS, Jackson Hospital & Clinic, Inc. (the “Corporation”)                   is    a nonprofit
corporation organized and operating under the laws of the State of Alabama.

        WHEREAS, the Board of Directors (the “Board”) of the Corporation previously
designated certain members of the Board (the “Strategic Advisory Group”) who, with input from
management and the Corporation’s advisors, would investigate, consider, evaluate, and negotiate
strategic and/or financial alternatives for the Corporation, including the possibilities of seeking
alternative financing, or undertaking an affiliation, sale, restructuring, reorganization, or other
recapitalization transaction and related financing involving the Corporation and/or one or more
of its direct and indirect subsidiaries, and taking certain other actions with respect thereto;

         WHEREAS, the Strategic Advisory Group reviewed the performance and results of the
Corporation, the market in which the Corporation operates, its current and future liquidity needs,
its business prospects, and its current and long-term liabilities;

         WHEREAS, the Strategic Advisory Group reviewed the materials presented by its
financial, legal, and other advisors and engaged in numerous and extensive discussions
(including, without limitation, with its management and such advisors) regarding, and has had
the opportunity to fully consider, the Corporation’s financial condition, including its liabilities
and liquidity position, the strategic alternatives available to it, and the impact of the foregoing on
the Corporation’s businesses and operations;

        WHEREAS,       the Advisory Group, in consultation with the Corporation’s management
and its financial, legal, and other advisors, determined that it was in the best interests of the
Corporation to explore a potential affiliation and/or sale to one or more potential strategic
partners (the “Affiliation Transaction”); and

        WHEREAS, the expected strategic benefits of the Affiliation                 Transaction    never
materialized, and the Affiliation Transaction was terminated in August 2024;

        WHEREAS, following the unwinding of the Affiliation Transaction, the Board retained
Allen Wilen of Eisner Advisory Group LLC to serve as Chief Restructuring Officer (“CRO”);

        WHEREAS, on February 2, 2025, the Board, in consultation with the CRO and
Corporation’s financial, legal, and other advisors, and in consideration of all the applicable facts
and circumstances determined that it is desirable and in the best interests of the Corporation and
the communities and patients that it serves, as well as the Corporation’s creditors, employees,
and other parties in interest, that the Corporation file or cause to be filed a voluntary petition
seeking relief under the provisions of Chapter 11 of Title 11 of the United States Code, 11
U.S.C. §§ 101-1532 et seq. (the “Bankruptcy Code”).




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I.       Chapter 11 Case

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
desirable and in the best interests of the Corporation, its creditors, and other parties in interest,
that the Corporation shall be, and hereby is, authorized to file or cause to be filed a voluntary
petition for relief under the provisions of Chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the Middle District of Alabama (the “Bankruptcy Court’).

        RESOLVED FURTHER, that the Chairman, Secretary, Interim President and Chief
Executive Officer, CRO, and any one or more officers of the Corporation (each an “Authorized
Person” and collectively, the “Authorized Persons”) are authorized, empowered, and directed, in
the name and on behalf of the Corporation, to execute and verify all petitions under Chapter 11
of the Bankruptcy Code and to cause the same to be filed in the Bankruptcy Court and to
commence any ancillary or related proceedings as may be necessary or appropriate to effectuate
the restructuring of the Corporation and to execute, verify, and cause to be filed all documents in
furtherance thereof, at such time as such Authorized Person executing the same shall determine.

         RESOLVED FURTHER, that each Authorized Person is authorized, empowered, and
directed, in the name and on behalf of the Corporation, to negotiate, enter into, execute, deliver,
certify, file, record, and perform, or cause to be negotiated, entered into, executed, delivered,
certified, filed, recorded, and performed, any and all petitions, schedules, lists, motions,
certifications, agreements, instruments, affidavits, acknowledgments, applications, including,
without limitation, applications for approvals or rulings of governmental or regulatory
authorities, pleadings, or other documents and to take, or cause to be taken, such other actions, as
in the judgment of such Authorized Person shall be or become necessary, advisable, proper, or
desirable in connection with the Corporation’s Chapter 11 case, such Authorized Person’s
performance of any such act and his or her execution and delivery of any such document,
agreement, or instrument to be conclusive evidence of the Authorized Person’s approval thereof.


Il.      Cash Collateral

        RESOLVED FURTHER, that the Corporation, as a debtor and debtor in possession
under the Bankruptcy Code, be authorized, empowered, and directed to negotiate and obtain the
use of cash collateral or other similar arrangements, including, without limitation, to enter into
any guarantees and to pledge and grant liens on and claims against the Corporation’s assets as
may be contemplated by or required under the terms of cash collateral agreements or other
similar arrangements, in such amounts as is reasonably necessary for the continuing conduct of
the affairs of the Corporation in its Chapter 11 case and any of the Corporation’s affiliates who
may also, concurrently with the Corporation’s petition, file for relief under the Bankruptcy Code.


Il.      Retention of Advisors

        RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name of and on behalf of the Corporation, to




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employ the law firm of Burr & Forman LLP as general bankruptcy counsel to represent and
advise the Corporation in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance its rights and obligations, including filing any pleadings in
connection with the Chapter 11 case and with any post-petition financing; and in connection
therewith, the Authorized Persons are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon
filing of the Chapter 11 case, and cause to be executed and filed an appropriate application
with the Bankruptcy Court for authority to retain the services of Burr & Forman LLP.

        RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
authorized, empowered and directed, in the name of and on behalf of the Corporation, to (i)
employ the law firm of Gilpin Givhan, PC to represent and advise the Corporation as special
corporate and health care regulatory counsel, and (ii) to compensate Gilpin Givhan, PC, as
counsel to the Corporation, for its fees and expenses incurred in connection therewith; and, in
connection therewith, the Authorized Persons are hereby authorized, empowered, and directed to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the Chapter 11 case, and cause to be executed and filed an appropriate
application or motion with the Bankruptcy Court for authority to retain the services of Gilpin
Givhan, PC.

       RESOLVED       FURTHER, that the Authorized Persons be, and each of them hereby is,
authorized,   empowered,   and directed,   in the name   of and on behalf of the Corporation,   to
employ the firm of Memory      Memory      & Causby, LLP as conflicts counsel to represent and
advise the Corporation in carrying out its duties under the Bankruptcy Code should a conflict
arise with respect to Burr & Forman LLP, and to take any and all actions to advance its rights
and obligations in connection with the Chapter 11 case and with any post-petition financing;
and in connection therewith, the Authorized Persons are hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 case, and cause to be executed and filed an
appropriate application with the Bankruptcy Court for authority to retain the services of
Memory Memory & Causby, LLP.

        RESOLVED FURTHER, that that the Authorized Persons be, and each of them
hereby is, authorized, empowered, and directed, in the name of and on behalf of the
Corporation, to employ the firm of Eisner Advisory Group LLC as chief restructuring
officer and financial advisor to represent and assist the Corporation in carrying out its duties
under the Bankruptcy       Code, and to take any and all actions to advance its rights and
obligations in connection with the Chapter 11 case and with any post-petition financing; and
in connection therewith, the Authorized Persons are hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 case, and cause to be executed and filed an
appropriate application with the Bankruptcy       Court for authority to retain the services of
Eisner Advisory Group LLC.

       RESOLVED FURTHER, that that the Authorized Persons be, and each of them
hereby is, authorized, empowered, and directed, in the name of and on behalf of the




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Corporation, to employ the firm of SSG Capital Advisors, LLC as investment banker to
represent and assist the Corporation in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance its rights and obligations in connection with the
Chapter 11 case and with any post-petition financing; and in connection therewith, the
Authorized Persons are hereby authorized, empowered, and directed to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of
the Chapter 11 case, and cause to be executed and filed an appropriate application with the
Bankruptcy Court for authority to retain the services of SSG Capital Advisors, LLC.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name of and on behalf of the Corporation, to
employ the firm of Omni Agent Solutions, Inc. as notice, claims, and balloting agent to
assist the Corporation in carrying out its duties under the Bankruptcy Code; and in
connection therewith, the Authorized Persons are hereby authorized, empowered, and
directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 case, and cause to be executed and filed an
appropriate application with the Bankruptcy Court for authority to retain the services of
Omni Agent Solutions, Inc.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name of and on behalf of the Corporation, to employ
any other professionals, including attorneys, accountants, financial advisors, investment bankers,
and tax advisors, necessary to assist the Corporation in carrying out its duties under the
Bankruptcy Code; and in connection therewith, the Authorized Persons are hereby authorized,
empowered, and directed to execute appropriate retention agreements, pay appropriate retainers
prior to or immediately upon the filing of the Chapter 11 case, and cause to be executed and filed
appropriate applications with the Bankruptcy Court for authority to retain the services of any
other professionals, as necessary.


IV.      General Resolutions and Ratification

         RESOLVED FURTHER, that the Authorized Persons, and any employees or agents
(including counsel) designated by or directed by any such Authorized Persons be, and each of
them hereby is, authorized, empowered, and directed, in the name of and on behalf of the
Corporation, to take any and all other actions as they may deem necessary or advisable to, in the
Corporation’s capacity as stockholder, shareholder, trustee, equity holder, managing member,
sole member, general partner, limited partner, or member of any of its subsidiaries and/or other
entities that are debtors in the Chapter 11 case, to cause such subsidiaries and/or other entities to
execute, deliver, and perform any of the actions contemplated with respect to the Chapter 11
cases and these resolutions or the transactions contemplated hereby.

        RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name and on behalf of the Corporation, to cause
the Corporation to enter into, execute, deliver, certify, file, and/or record and perform such
agreements, instruments, motions, affidavits, applications for approvals or ruling of




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governmental or regulatory authorities, certificates or other documents, and to take such
other action, as in the judgment of such officer shall be or become necessary, proper, or
desirable to prosecute to a successful completion of the Chapter 11 case, including
implementing the foregoing Resolutions and the transactions contemplated by these
Resolutions.

         RESOLVED FURTHER, that the Authorized Persons be, and each of them hereby is,
authorized, empowered, and directed, in the name and on behalf of the Corporation, to
amend, supplement, or otherwise modify from time to time the terms of any documents,
certificates, instruments, agreements, or other writings referred to in the foregoing
Resolutions.

       RESOLVED       FURTHER, that the omission from these Resolutions of any agreement,
document, or other arrangement contemplated by any of the agreements, documents, or
instruments described in the foregoing Resolutions or any action to be taken in accordance with
any requirement of any of the agreements, documents, or instruments described in the foregoing
Resolutions shall in no manner derogate from the authority of the Authorized Persons to take all
actions necessary, desirable, advisable, or appropriate to consummate, effectuate, carry out, or
further the transactions contemplated by, and the intent and purposes of, the foregoing
Resolutions.

         RESOLVED FURTHER, that all lawful acts, actions, and transactions relating to the
matters contemplated by the foregoing Resolutions done by any Authorized Person or any
director, employee, legal counsel, or other representative of or advisor to the Corporation, in the
name and on behalf of the Corporation, which acts would have been approved by the
foregoing Resolutions except that such acts were taken before these Resolutions were
certified, are hereby in all respects approved and ratified.

        RESOLVED FURTHER, that in connection with the transactions contemplated by the
foregoing Resolutions, the Secretary and any Assistant Secretary of the Corporation be, and each
of them individually hereby is, authorized in the name and on behalf of the Corporation, to
certify any more formal or detailed resolutions as such Authorized Person may deem necessary,
appropriate, or desirable to effectuate the intent of the foregoing Resolutions; and that thereupon
such resolutions shall be deemed adopted as and for the resolutions of the Board as if set forth at
length herein.




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